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         Case 1:19-mj-04207-DHH Document 2-1 Filed 03/19/19 Page 3 of 20



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 7KHFRUUHVSRQGHQFHWKDWGUXJWUDIILFNHUVDUHUHTXLUHGWRPDLQWDLQRQWKHLUPRELOHWHOHSKRQHUHVXOWV

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           Case 1:19-mj-04207-DHH Document 2-1 Filed 03/19/19 Page 7 of 20



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                                    ATTACHMENT A-1

       The equipment to be searched consists of the following: Motorola phone, Model #

XT1921-2, IMEI: 359542090438837 (“Target Device 1” or the “equipment”). Target Device 1

that is in possession of ATF, located at 1 Lakeshore Center, Bridgewater, Massachusetts 02324,

as further described in Attachment A-1.


Images of the phone are included below:
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                                      ATTACHMENT B-1

I.     All records, in whatever form, and tangible objects that constitute evidence, fruits, or

instrumentalities of 18 U.S.C. §§ 922(g)(1), and 1951(a), including those related to:

       A.      Communications, discussion, planning for and preparation of robberies, including

               selection of targets, familiarity with roads and means of access, procurement of

               transportation, procurement of weapons and ammunition, the disposition and

               monetization of stolen items;

       B.      The identities, aliases, addresses, email addresses, whereabouts, and telephone

               numbers, of conspirators and other persons furthering the conspiracy;

       C.      Possession of firearms and ammunition;

       D.      The locations of meetings and other aspects of the conspiracy, including where

               the conspiracy was formed and was furthered, weapons and ammunition were

               obtained, the crime committed, and where suspects intended to flee;

       E.      The methods of communications between conspirators and associates, including

               the telephone numbers, messaging applications, and social media accounts used

               by conspirators;

       F.      The substance of communications regarding criminal activities, including

               discussions regarding firearms, ammunition, robberies, and any acts of violence;

       G.      The identity, location, and travel or historical whereabouts of any conspirators or

               associates, as well as any acts taken in furtherance of the crimes listed above;

       H.      Evidence of who used, owned, or controlled the equipment;

       I.      Evidence of malicious computer software that would allow others to control the

               equipment, software, or storage media, evidence of the lack of such malicious
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             software, and evidence of the presence or absence of security software designed

             to detect malicious software;

      J.     Evidence of the attachment of other hardware or storage media;

      K.     Evidence of counter-forensic programs and associated data that are designed to

             eliminate data;

      L.     Evidence of the times the equipment was used;

      M.     Passwords, encryption keys, and other access devices that may be necessary to

             access the equipment; and

      N.     Records relating to accounts held with companies providing Internet access or

             remote storage of either data or storage media.

II.   Serial numbers and any electronic identifiers that serve to identify the computer

equipment.

                                         DEFINITIONS

      For the purpose of this warrant:

      A.     “Equipment” means any hardware, software, storage media, and data.

      B.     “Hardware” means any electronic device capable of data processing (such as a

             computer,    digital   camera,   cellular   telephone   or   smartphone,   wireless

             communication device, or GPS navigation device); any peripheral input/output

             device (such as a keyboard, printer, scanner, monitor, and drive intended for

             removable storage media); any related communication device (such as a router,

             wireless card, modem, cable, and any connections), and any security device, (such

             as electronic data security hardware and physical locks and keys).

      C.     “Software” means any program, program code, information or data stored in any

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               form (such as an operating system, application, utility, communication and data

               security software; a log, history or backup file; an encryption code; a user name;

               or a password), whether stored deliberately, inadvertently, or automatically.

       D.      “Storage media” means any media capable of collecting, storing, retrieving, or

               transmitting data (such as a hard drive, CD, DVD, USB or thumb drive, or

               memory card).

       E.      “Data” means all information stored on storage media of any form in any storage

               format and for any purpose.

       F.      “A record” is any communication, representation, information or data.             A

               “record” may be comprised of letters, numbers, pictures, sounds or symbols.

                                   Return of Seized Equipment

       If, after inspecting seized equipment, the government determines that the equipment does

not contain contraband or the passwords, account information, or personally-identifying

information of victims, and the original is no longer necessary to preserve as evidence, fruits or

instrumentalities of a crime, the equipment will be returned within a reasonable time, if the party

seeking return will stipulate to a forensic copy’s authenticity and accuracy (but not necessarily

relevance or admissibility) for evidentiary purposes.

       If equipment cannot be returned, agents will make available to the equipment’s owner,

within a reasonable time period after the execution of the warrant, copies of files that do not

contain or constitute contraband; passwords, account information, personally-identifying

information of victims; or the fruits or instrumentalities of crime.




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                                     ATTACHMENT A-2

       The equipment to be searched consists of the following: a Black iPhone with red case

(“Target Device 2”) that is in possession of ATF, located at 1 Lakeshore Center, Bridgewater,

Massachusetts 02324; and a Black iPhone with red case (“Target Device 3”) that is in possession

of ATF, located at 1 Lakeshore Center, Bridgewater, Massachusetts 02324. Collectively, Target

Device 2 and Target Device 3 will be referred to as the “equipment” or the “Target Devices.”



       A photograph of Target Device 2 and Target Device 3 follows:
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                                    ATTACHMENT B-2

I.      All records, in whatever form, and tangible objects that constitute evidence, or

instrumentalities of 18 U.S.C. § 1951(a), and 21 U.S.C. §§ 841(a)(1), and 846 including those

related to:

        A.    Communications, discussion, planning for and preparation of robberies, including

              selection of targets, familiarity with roads and means of access, procurement of

              transportation, procurement of weapons and ammunition, the disposition and

              monetization of stolen items;

        B.    The identities, aliases, addresses, email addresses, whereabouts, and telephone

              numbers, of conspirators and other persons furthering the conspiracy;

        C.    Possession of firearms and ammunition;

        D.    Possession and distribution of controlled substances, including fentanyl, heroin,

              cocaine, cocaine base a/k/a crack cocaine, and marijuana,

        E.    The locations of meetings and other aspects of the conspiracy, including where

              the conspiracy was formed and was furthered, weapons and ammunition were

              obtained, the crime committed, and where suspects intended to flee;

        F.    The methods of communications between conspirators and associates, including

              the telephone numbers, messaging applications, and social media accounts used

              by conspirators;

        G.    The communications regarding discussions regarding purchase, sale and

              distribution of controlled substances, prices, locations of sales, individuals who

              purchased controlled substances, individuals who sold controlled substances, and

              any sources of supply of controlled substances;

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      H.     The identity, location, and travel or historical whereabouts of any conspirators or

             associates, as well as any acts taken in furtherance of the crimes listed above;

      I.     Evidence of who used, owned, or controlled the equipment;

      J.     Evidence of malicious computer software that would allow others to control the

             equipment, software, or storage media, evidence of the lack of such malicious

             software, and evidence of the presence or absence of security software designed

             to detect malicious software;

      K.     Evidence of the attachment of other hardware or storage media;

      L.     Evidence of counter-forensic programs and associated data that are designed to

             eliminate data;

      M.     Evidence of the times the equipment was used;

      N.     Passwords, encryption keys, and other access devices that may be necessary to

             access the equipment; and

      O.     Records relating to accounts held with companies providing Internet access or

             remote storage of either data or storage media.

II.   Serial numbers and any electronic identifiers that serve to identify the computer

equipment.

                                         DEFINITIONS

      For the purpose of this warrant:

      A.     “Equipment” means any hardware, software, storage media, and data.

      B.     “Hardware” means any electronic device capable of data processing (such as a

             computer,    digital   camera,   cellular   telephone   or   smartphone,    wireless

             communication device, or GPS navigation device); any peripheral input/output

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               device (such as a keyboard, printer, scanner, monitor, and drive intended for

               removable storage media); any related communication device (such as a router,

               wireless card, modem, cable, and any connections), and any security device, (such

               as electronic data security hardware and physical locks and keys).

       C.      “Software” means any program, program code, information or data stored in any

               form (such as an operating system, application, utility, communication and data

               security software; a log, history or backup file; an encryption code; a user name;

               or a password), whether stored deliberately, inadvertently, or automatically.

       D.      “Storage media” means any media capable of collecting, storing, retrieving, or

               transmitting data (such as a hard drive, CD, DVD, USB or thumb drive, or

               memory card).

       E.      “Data” means all information stored on storage media of any form in any storage

               format and for any purpose.

       F.      “A record” is any communication, representation, information or data.             A

               “record” may be comprised of letters, numbers, pictures, sounds or symbols.

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       If, after inspecting seized equipment, the government determines that the equipment does

not contain contraband or the passwords, account information, or personally-identifying

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instrumentalities of a crime, the equipment will be returned within a reasonable time, if the party

seeking return will stipulate to a forensic copy’s authenticity and accuracy (but not necessarily

relevance or admissibility) for evidentiary purposes.



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       If equipment cannot be returned, agents will make available to the equipment’s owner,

within a reasonable time period after the execution of the warrant, copies of files that do not

contain or constitute contraband; passwords, account information, personally-identifying

information of victims; or the fruits or instrumentalities of crime.




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